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       I hereby declare. under penalty of pe1:jury

   the best of my knowledge.


                                             Fabiola D. Colon. Special Agent
                                             HSI


       Sworn in accordance vvith the requirements of Fed. R. Crim. P. 4.1 by telephone in

                          January 9, 2024 at 1:32 p.m.
San Juan. Puerto Rico, on --------


                                                                   Digitally signed by Hon.
                                                                   Giselle Lopez-Soler
                                             Honorable Giselle Lopez Soler
                                             United Stares Magistrate Judge




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